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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )          CRIMINAL ACTION NO.
        v.                             )            1:08cr236-MHT
                                       )                 (WO)
WILLIAM CHARLES DUFF                   )



                             OPINION AND ORDER

       It is ORDERED that defendant William Charles Duff’s

motion for credit for time served (doc. no. 487) is

denied.        Duff    has    not   shown        that   he   has   exhausted

available administrative remedies, and he has not used

the proper legal vehicle, 28 U.S.C. § 2241, to seek

relief.       See United States v. Nyhuis, 211 F. 3d 1340,

1345 (11th Cir. 2000) (“A claim for credit for time

served is brought under 28 U.S.C. § 2241 after the

exhaustion of administrative remedies.”); United States

v. Flanagan, 868 F.2d 1544, 1546 (11th Cir. 1989) (“[A]

federal prisoner dissatisfied with the computation of

his     sentence      must    pursue       the    administrative     remedy
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available    through     the   federal     prison     system     before

seeking judicial review of his sentence.").

    DONE, this the 23rd day of April, 2015.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
